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                         Exhibit A
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From: Comparato, Nicole (via epic-mobileapps list) <epic-mobileapps@lists.cravath.com>
Sent: Tuesday, March 18, 2025 5:52 PM
To: Philip Gutierrez <PGutierrez@jamsadr.com>; Epic Mobile Apps EXTERNAL <epic-
mobileapps@cravath.com>; Weil Apple Epic <WeilAppleEpic@weil.com>;
epicapplecompliance@gibsondunn.com
Cc: judgesegal@signatureresolution.com; Patrick Walsh <judgewalsh@signatureresolution.com>
Subject: RE: Report on Production No.5.

Judge Gutierrez,

It has come to our attention that one of the documents over which you ruled “NO” in your Priority Set
#3 (PRIV-APL-EG_00150341, entry #127) was erroneously coded as redacted (with just one word
apparently redacted as “confidential,” not for privilege reasons) when it should have been coded as fully
withheld for privilege (with no redaction for confidentiality). We have uploaded a corrected version of
this document to Cloudshare in the “Special Master 3.3.25 Documents” folder titled “Judge Gutierrez”
and re-shared it with you. We respectfully request that you rule on this corrected document and
sincerely apologize for the inconvenience.

Thank you,

Nicole




Nicole Comparato
Counsel

Weil, Gotshal & Manges LLP
1395 Brickell Avenue, Suite 1200
Miami, FL 33131-3368
Nicole.Comparato@weil.com
+1 305 577 3236 Direct
+1 305 374 7159 Fax

From: Philip Gutierrez <PGutierrez@jamsadr.com>
Sent: Monday, March 17, 2025 7:25 PM
To: epic-mobileapps@cravath.com; Weil Apple Epic <WeilAppleEpic@weil.com>;
epicapplecompliance@gibsondunn.com
Cc: judgesegal@signatureresolution.com; Patrick Walsh <judgewalsh@signatureresolution.com>
Subject: Report on Production No.5.

I'm traveling tomorrow. Here's my report.

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